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                                         December 23, 2024

VIA ECF
Hon. Joseph F. Leeson, Jr. U.S. D.J. E.D. Pa.
United States District Court
Eastern District of Pennsylvania
Edward N. Cahn U.S. Courthouse and Federal Building
504 West Hamilton Street, Suite 3401
Allentown, Pennsylvania

         RE:     CHRISTOPHER SMITH VS. THE FINTEX GROUP, LLC AND ANDREW WEINSTEIN
                 CIVIL ACTION NO. 5:24-CV-02134-JFL

Dear Judge Leeson:

       This firm represents Plaintiff Christopher Smith (“Plaintiff”) in the above-captioned matter.
Please accept this letter brief submitted in accordance with Your Honor’s December 17, 2024, Order.

    I.      SUMMARY OF FACTS
         Plaintiff filed a Complaint on May 17, 2024, which consisted of five causes of action
stemming from Plaintiff’s employment with Andrew Weinstein and The Fintex Group, LLC
(“Defendants”). Defendant Andrew Weinstein approached Plaintiff about becoming part of his new
entity, later named The Fintex Group, LLC. (Complaint ¶ 8). Defendant offered Plaintiff a position
as a Senior Operating Partner with Defendant Fintex Group. Details regarding Plaintiff’s
compensation and other fees were to be included in a partnership agreement, which was to be drafted
by Loeb & Loeb, LLC (“Loeb”). (Complaint ¶ 9). Plaintiff relied on Defendants’ assurances and
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accepted the position without the signing of a formal written agreement. Plaintiff devoted all of his
time to working for Defendants and worked for nine (9) months without compensation based on
Defendants’ promises that payment would be imminent. (Complaint ¶ 10 and ¶ 11). Defendants have
refused to pay Plaintiff for the work he completed resulting in Plaintiff sustaining significant losses.
(Complaint ¶ 13).

        Plaintiff served Defendants Andrew Weinstein and The Fintex Group, LLC (“Defendants”)
with their First Set of Requests for Production of Documents and Interrogatories on September 18,
2024. On October 18, 2024, Defendants served their first set of responses and objections, which were
woefully deficient and withheld many crucial documents not protected by privilege. Defendants have
since produced documents on a rolling basis and have admitted to continued production to occur but
have yet to produce a significant amount of documents requested. In addition, Defendants have
continued to be non-responsive with respect to a majority of their responses to Plaintiff’s
Interrogatories. On or about October 23, 2024, Plaintiff served a Notice of Subpoena upon Loeb &
Loeb, The Fintex Group’s counsel. The Subpoena included requests for information and documents
relating to the due diligence the firm performed and any discussions regarding compensation for
Plaintiff, as well as documentation relating to the draft partnership agreement that was alleged to have
been prepared by Loeb & Loeb. Defendants have indicated they intend to quash the subpoena on the
basis of attorney-client privilege. We note that, although the subpoena’s return date was December 5,
2024, no motion has been filed. The parties have attempted to work together to remedy this issue but
have been unable to do so.

   II.      THE DOCUMENTS AND INFORMATION SOUGHT BY PLAINTIFF ARE
            RELEVANT AND MUST BE PRODUCED

        Federal Rule of Civil Procedure 26(b)(1) allows parties to obtain discovery on any matter not
privileged which is relevant to the subject matter of the case. Fed.R.Civ.P. (26)(b)(1). The rules of
discovery are meant to be “construed quite liberally so as to permit the discovery of any information
which is relevant and reasonably calculated to lead to the discovery of admissible evidence. Fid. Fed.
Sav. & Loan Ass’n v. Flicetti, 148, F.R.D. 532, 534 (E.D. Pa. 1993). The Courts have held that what
is considered relevant is construed broadly and “encompasses any matter that bears on, or that
reasonably could lead to other matter that could bear on, any issues that is or may be in the case.”
Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 353, 98 S. Ct. 2380, 57 L. Ed. 2d 253 (1978)
(citing Hickman v. Taylor, 329 U.S. 495, 501, 67 S.Ct. 385, 388, 91 L.Ed. 451 (1947)).

      Defendants’ responses to Plaintiff’s interrogatories and document demands highlight a
complete refusal to produce discovery that is clearly relevant and should be produced.

         1. Interrogatory 5, which asks whether any transaction completed by Plaintiff resulted in a
            monetary benefit to Defendants is relevant to Plaintiff’s claim that the work completed by
            Plaintiff benefited Defendants.
         2. Interrogatory 11 and Document Request 13, which asks Defendants to identify and provide
            documentation about other people who were promised compensation or employed by
            Defendant is relevant to determining if Defendants’ refusal to fairly compensate Plaintiff
            is a pattern of behavior for Defendants and it helps to identify other possible people with
            relevant knowledge surrounding Defendants’ promises of compensation.


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       3. Document Request 3 and 5 request documentation surrounding Plaintiff’s role, duties, and
           compensation including any contracts or agreements between the parties, which is central
           to Plaintiff’s claim that he was in fact an employee.
       4. Document Request 7, 8, and 9 request documentation surrounding Defendants
           communications with third parties regarding Plaintiff and the targets he was working on,
           which is relevant to both Plaintiff’s claims of employment and the specific work he was
           hired by Defendants to complete.
       5. Document Request 10 and 11 requests documentation surrounding James Laurie, an
           advisor with Defendants, and his compensation agreements with Defendants. This request
           is relevant to determine how Defendants were paying other employees or advisors.
           Additional discovery produced to date indicates that Loeb & Loeb was preparing an
           agreement for Mr. Laurie, which included compensation provisions for catch-ups and
           preference payments; however, no such agreement or related documents have been
           produced.
       6. Document Request 16, which requests all operating agreements and amendments, is
           relevant to determining the structure and identifying all the members of Defendant Fintex
           Group.
       7. Document Request 10 (misnumbered on page 13) requests all communications regarding
           the hiring and compensation of Plaintiff. This is clearly relevant to Plaintiff’s claim of
           employment and damages resulting from Defendants’ failure to compensation Plaintiff.
       8. Document Request 11 (misnumbered on page 13), which requests a complete .PST export
           of the email account Plaintiff had with Defendants, is relevant to prove Plaintiffs’
           employment and the compensation promises Defendants made via email.
       9. Document Request 12, 15, and 16 (misnumbered on page 13), which requests all
           agreement between Fintex and anyone regarding the (a) HarmoneyPop (b) Global
           Payments (c) SnapB2B; (d) SnapB2B’s Licensed Technology or derivative works
           therefrom, (e) IFI; (f) HarmoneyPop; (g)BaiaNet; (h) Kompliant; (i) iStream; and (j)
           Delvo, are relevant to Plaintiff’s claims of employment and proof of the work completed
           by Plaintiff while employed by Defendants.
       10. Document Request 33, which requested all communications concerning the termination
           of Plaintiff’s involvement with Fintex, is relevant to Plaintiff’s employment with
           Defendants and Defendants’ refusal to compensate Plaintiff for the work he performed.
       In addition, some of the documentation requested is also central to Defendants’ own
counterclaims. Defendants assert several counterclaim related to monies they were allegedly forced
to expend as a result of Plaintiff’s conduct.

       1. Interrogatory 13 and 14 requests information about Defendants’ claims about deficiencies
          or errors in the Due diligence reports prepared by Plaintiff that led to losses. These
          documents are relevant to Defendants’ claims that they suffered losses as a result of
          Plaintiff’s actions.
       2. Interrogatory 18, which asks about communications surrounding Defendants’ allegation
          that Plaintiff “alienated” IFI’s CEO and caused harm to Defendants directly relevant to
          Defendants’ claim for damages.
       3. Interrogatory 19 asks for Defendants to explain the alleged correct measures that were
          taken as a result of Plaintiff’s “deficiencies”, which is directly relevant to Defendants’
          claim that more work needed to be done to correct Plaintiff’s alleged mistakes, yet they
          have produced no documents, nor have they provided a full response.
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          4. Document Request 6, which asks for communications between Andrew Weinstein and
             Loeb relating to specific targets is relevant to the case at hand because Defendants claim
             that they were forced to retain Loeb to provide due diligence services as a result of
             Plaintiff’s actions.
          5. Document Request 14 asks for documents to support Defendants’ allegation in their
             counterclaim that they had to use their own capital to execute a plan, yet Defendants have
             produced none.
          6. Document Request 34, which requests all documentation reflecting Defendants’ financial
             condition and ability to compensate Plaintiff, is relevant to Defendants’ claims of losses
             and an inability to compensate Plaintiff.
The documents Defendants are withholding are central to Defendants’ own counterclaim and
therefore are relevant to the case at hand and should be produced. See Carnegie Hill Fin., Inc. v.
Krieger, No. 99-CV-2592, 2000 WL 10446 (E.D. Pa. Jan. 5, 2000).

        Allowing Defendants to continue to withhold these clearly relevant documents would be
extremely prejudicial to Plaintiff because Defendants are in sole possession of documents necessary
to prove Plaintiff’s case, which they are unilaterally withholding. In addition, the parties have entered
into a confidentiality agreement, which will protect all parties’ documents from public view. These
documents are relevant to both Plaintiff and Defendants’ claims and therefore must be produced.

   III.      THE DOCUMENTS WITHHELD BY DEFENDANTS ARE NOT SUBJECT TO
             ATTORNEY CLIENT PRIVILEGE

        Defendants have refused to produce most documents with Loeb &Loeb, LLC under the guise
of attorney client privilege. Specifically, they have refused to produce relevant documents in response
to Document Request 6 and 15 which ask for documentation and communication relating to the work
Loeb completed for Defendants and they have indicated an unwillingness to allow Plaintiff’s
Subpoena to move forward. Defendants claim that the work completed by Loeb is protected work-
product, or in the alternative protected attorney-client privilege.

        Federal Rule of Civil Procedure 26(b)(3) provides that documents and other tangible items
prepared in anticipation of litigation by or for a party’s attorney are not discoverable. Fed.R.Civ.P.
(26)(b)(3). The work-produce doctrine allows attorneys to work freely without the fear of their work
being used against their clients. Westinghouse Elec. Corp. v. Republic of the Philippines, 951 F.2d
1414, 1428 (3d Cir.1991) (citing Hickman v. Taylor, 329 U.S. 495, 50-11, 67 S.Ct. 385, 393-94 L.Ed
451 (1947)). The work-product doctrine does not protect materials produced in the normal course of
business or for other nonlitigation purposes. Martin v. Bally’s Park Place Hotel & Casino, 983 F.2d
1252, 1261 (3d Cir. 1993). Defendants have failed to explain how due diligence and other services
provided by Loeb were produced in anticipation of litigation. The work completed was not prepared
in anticipation of any specific litigation and was simply due diligence prepared prior to the purchase
of specific target businesses. Defendants have produced no evidence or made any claims that would
support this blanket assertion.

       Attorney-client privilege is “the oldest of the privileges for confidential communications
known to common law.” Upjohn Company v. United States, 449 U.S. 383, 389, 101 S.Ct. 677, 682,
66 L.Ed.2d 584 (1981). Because the attorney-client privilege can obstruct the search for the truth, it
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must be “strictly confined within the narrowest possible limits consistent with the logic of its
principle.” In re Grand Jury Investigation, 599 F.2d 1224 (3d Cir. 1979). The burden of proof that a
communication is subject to attorney-client privilege lies with the party asserting such privilege. In
re Grand Jury Empanelled Feb. 14, 1978, 603 F.2d 469, 474 (3d Cir.1979) (citing United States v.
Landof, 591 F.2d 36, 38 (9th Cir.1978)).

        Attorney-client privilege does not apply to every communication between clients and
attorneys. The privilege only protects conversations in which the client seeks legal, not business
advice or services. SmithKline Beecham Corp.v. Apotex Corp., 232 F.R.D. 467, 479 (E.D. Pa. 2005)
(citing to Kramer v. Raymond Corp., Civ. No. 90–5026, 1992 WL 122856, at *1, 1992 U.S. Dist.
LEXIS 7418, at *4 (E.D.Pa. May 26, 1992)). Business communications do not become protected legal
advice simply because they are provided by an attorney. Defendants bear the burden of proving
clearly that the communications in question were made for the express purpose of securing legal
advice, not simply business advice. Southeastern Pennsylvania Transp. Authority v. Caremarkpcs
Health, L.P., 254 F.R.D. 253, 259 (E.D. Pa. 2008) (quoting AAMCO Transmissions, Inc. v.
Marino, 1991 WL 193502, at *2, 1991 U.S. Dist. LEXIS 13326, at *9 (E.D.Pa. Sept. 24, 1991)).

        The legal due diligence completed by Loeb was business advice, and therefore not subject to
the attorney-client privilege. Assessing a business’s assets and liabilities in preparation for a purchase
is not legal advice. As established above, Loeb’s due diligence was not prepared in preparation for
any litigation. Prior to Loeb’s involvement, Plaintiff, who is not a licensed attorney, was responsible
for completing the due diligence. Defendants have failed to prove that these documents are legal
advice outside of the fact that they were prepared by an attorney.

        If the documents are in fact subject to attorney-client privilege, Defendants have not proven
that Plaintiff is within the class of people protected by Defendants’ privilege. Attorney-client privilege
will apply to employee communications when (1) were made to the corporate counsel, acting as such;
(2) were made at the direction of corporate supervisors for the purpose of securing legal advice from
counsel; (3) concerned matters within the scope of the employees' corporate duties; and (4) the
employees were sufficiently aware that they were being questioned in order for the corporation to
obtain legal advice. Upjohn Co. v. U.S., 449 U.S. 383, 394-95 (1981). This rule is not absolute, and
the attorney-client privilege can be waived if the communications are disclosed to employees who do
not need access to them. Smithkline, 193 F.R.D. at 473 (quoting Baxter Travenol Labs., Inc. v. Abbott
Labs., No. 84 C 5103, 1987 WL 12919, at *5, 1987 U.S. Dist. LEXIS 10300, at *14 (N.D. Ill. June
19, 1987).

        Throughout this matter, Defendants have maintained that Plaintiff was not an employee,
officer, nor director of the Fintex Group, LLC. Defendants cannot maintain their claim that Plaintiff
was not an employee and did not have any decision-making capabilities, while at the same time
claiming that Plaintiff’s communications with Loeb were within the scope of corporate attorney client
privilege. If Plaintiff was not an employee and did not have decision making capabilities, then
Defendants have waived their privilege as to any communications between Plaintiff and Loeb & Loeb,
LLC by disclosing such communications to a third-party (Plaintiff) who did not need access to the
documents, and the communications must be provided. In addition, Defendants have not proven that
the communications involving Plaintiff were made to obtain legal advice as required by the law.



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        Based on the foregoing, Plaintiff respectfully requests that Defendant be ordered to turn over
all previously withheld documents because they are not privileged.

                                             Respectfully submitted,

                                             WILLIAMS, GRAFFEO & STERN, LLC

                                             Brian Graffeo
                                             _____________________________
                                             Brian P. Graffeo, Esq.
cc: All Counsel of Record




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